               Case 5:16-cr-50015-TLB Document 92                           Filed 09/16/16 Page 1 of 6 PageID #: 382
AO 245 8 (Rev. I 0/ 15) Judgment in a Ctimina l Case
                          Sheet I



                                            UNITED STATES DISTRICT COURT
                                                           Western District of Arkansas
                                                                             )
               UNITED STATES OF AMERICA                                      )         JUDGMENT IN A CRIMINAL CASE
                          v.                                                 )
                                                                             )
                          ADAMO'MARA                                                   Case Number:            5 : 16CR50015-003
                                                                             )
                                                                             )         USM     umber:          14243-010
                                                                             )
                                                                             )         James Edwin Moore, IV
                                                                             )         Defendant 's Attorney
THE DEFENDANT:
X pleaded guil ty to count(s)          One ( I ) of the Indictment on May 25, 20 16.

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was fo und guilty on count(s)
  after a plea of not guil ty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                            Offense Ended         Count
18 U.S.C. §§ 1344(2) and            Conspiracy to Conunit Bank Fraud                                               11/03/2015            1
1349




The defendant is sentenced as provided in pages 2 through             6     of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
D The defendant has been fo und not guil ty on count(s)

X Count(s)        Forfei ture Allegation                   X   IS    Dare dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney fo r this district within 30 days of any change of name, residence, or mailing
address until all fines , restitution, costs, and special assessments imposed by this judgment are fu lly paid. If ordered to pay restitution, the
defendant must noti fy the court and United States attorney of material changes in econor)l:i'el circumstances.
                                                                                                    f




                                                                            Honorable Timothv L. Brooks. United States District Judge



                                                                            ~\;k lb, 2olb
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                1011 5) Judgment   in C1i mina l Case   Document 92          Filed 09/16/16 Page 2 of 6 PageID #: 383
                          Sheet 2 - lmp1i sonment

                                                                                                           Judgment -   Page   2   of   6
DEFENDANT:                      ADAMO ' MARA
CASE NUMBER :                   5: l 6CR50015 -003

                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned fo r a
 total tem1 of:     ten (10) months.




     D The court makes the fo llowing recommendations to the Burea u of Prisons:




     X The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal fo r this district:
          D at                                          D a.m.      D p.m.       on

          D as notified by the United States Marshal.

     D The defendant shall surrender fo r service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as noti fied by the Probation or Pretrial Services Office.


                                                                       RETURN
 I have executed this judgment as fo llows:




          Defendant delivered on                                                               to

 a                                                       , with a certified copy of this j udgment.



                                                                                                           NITED STATES MA RSHAL



                                                                               By
                                                                                                      DEPUTY UN ITED STATES MA RSHA L
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AO 245 8 ( Rev. 10/ 15 ) Judgment in a C1iminal Case                        Filed 09/16/16 Page 3 of 6 PageID #: 384
                         Sheet 3 -   Supe1vised Release
                                                                                                             Judgment- Page       3    of        6
 DEFENDANT:                      ADAMO ' MARA
 CASE NUMBER:                    5: 16CR50015-003
                                                          SUPERVISED RELEASE
 Upon re lease from imprisonment, the defendant shall be on supervised release for a term of :            three (3) years.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the custody
of the Bureau of Pri sons.
The defendant shall not commit another federa l, state or loca l crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawfu l use of a contro lled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detem1ined by the court.

 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check. if applicable.)

x         The defendant shall not possess a firearm, ammunition, destructi ve device, or any other dangerous weapon. (Ch eck. if applicable.)

x         The defendant shall cooperate in the co llection of DNA as directed by the probation officer. {Check, if applicable.)

          The defendant shall compl y with the requirements of the Sex Offender Registrati on and Notification Act (42 U.S .C. § 16901 , et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        T he defendant shall participate in an approved program for domestic violence. {Check. if applicable.)
 If this judgment imposes a fin e or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
 of Payments sheet of this j~dgment.
 The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.

                                            ST AND ARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularl y at a lawful occupation, unless excused by the probation officer for schoo ling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten da ys prior to any change in residence or employment;
     7)     the defendant shall refra in from excess ive use of alcoho l and shall not purchase, possess, use, distribute, or administer any
            contro lled substance or any parapherna lia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illega lly so ld , used, distributed, or administered;
     9)     the defendant shall not associate with any persons en~aged in criminal activity and shall not associate with any person convicted of a
            fe lony, unless granted permission to do so by the prooation offi cer;
  10)       the defendant shall permit a pro bation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
  1 1)      the defendant sha ll noti fy the probation officer within seventy-two hours of being arrested or questioned by a law enforce ment officer;
  12)       the defendant shall not enter into any agreement to act as an info 1111er or a spec ial agent of a law enforce ment agency without the
            pem11ss1on of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant' s criminal
            record or personal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the
            defendant' s compliance with such notification requirement.
             Case
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                       Judgment in a Criminal Case   Document 92        Filed 09/16/16 Page 4 of 6 PageID #: 385
         Sheet 3C - Supervised Release
                                                                                                          Judgment- Page _ _4__ of _ _ _6
DEFENDANT:                  ADAMO 'MARA
CASE NUMBER:                5: l 6CR500 15-003

                                          SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall submit to inJ?atient and/o r outpatient mental hea lth eva luation, counseling, testing and/or treatment, as deemed necessary
and as directed by the U.S. Pro bat10n Office.
2. The defendant shall submit to inpatient or outpatient substance abuse eva luation, counseling, testing, and/or treatment as deemed necessary
and as directed by the U.S. Pro bati on Officer.
3. The defendant shall submit his person, res idence, place of employment, and vehicle to a search conducted by the U.S. Pro bation Officer at
a reasonable time and in a reasonabl e maimer based on reasonable suspicion that evidence of any violation of condi tions of supervised release
might thereby be disc losed.
4. To the extent possible, the defendant be afforded the opportunity to participate in the drug court program at the Washington County,
Arkansas, Circuit Court, under the supervision of the Honorable Christi Beaumont.
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         Sheet 5 - Criminal Moneta ry Penalti es
                                                                                                        Judgment -   Page --"5_ _   of       6
 DEFENDANT:                           ADAMO ' MARA
 CASE NUMBER:                         5: l 6CR50015-003
                                                  CRIMINAL MONET ARY PENALTIES
      The defenda nt must pay the tota l criminal monetary penalties under the schedule of payments on Sheet 6 .


                         Assessment                                         Fine                                 Restitution
TOTALS               $ 100.00                                          $ 1,400.00                              $ 4 87 .00



 D T he detennination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (A O 245C) will be entered
      after such detennination.

 D The defendant must make restitution (including community restitution) to the fo llowing payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approx imate ly pro portioned p ayment, unless spec ified otherwise in
      the priority order or percentage payment co lumn below. However, pursuant to 18 U.S .C. § 3664(t), all nonfe deral victims must be paid
      before the United States is paid .                                                                '

 Name of Pavee                                    Total Loss*                      Restitution Ordered                    Prioritv or Percentage
 Arvest Bank                                                                                         4 87.00
 Attn : Terry Hendrix
 75 N orth East Avenue
 Fayetteville, AR 72701




 TOTALS                                 $ _ _ _ _ _ __                         $                     487.00


 D      Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fi ne of more than $2 ,500, unless the restitution or fine is paid in full before the
       fi ftee nth day after the date of the judgment, pursuant to 18 U. S.C. § 36 12(f) . All of the payment options on Sheet 6 may be subj ect
       to penalties fo r delinquency and default, pursuant to 18 U.S.C. § 36 I 2(g) .

 X     The court detennined that the defe ndant does not have the abili ty to pay interest and it is ordered that:

        X the interest requirement is wa ived fo r the           X fine     X restitution.
        D    the interest requirement fo r the        D   fine    D restituti on is modified as fo llows:

 * Fi11dings fo r the total amount ofl osses are required under Chapters I09A, 110, 11 OA, and l I 3A of Title l 8 fo r offenses committed on or after
 September 13, 1994, but before April 23 , 1996.
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         Sheet 6 - Sc hedu le of Payments

                                                                                                                   Judgment -   Page _ _6__ of               6
 DEFENDANT:                     ADAMO 'MARA
 CASE NUMBER:                   5: l 6CR500 15-003

                                                            SCHED ULE OF PAYMENTS

 Having assessed the defendant's abili ty to pay, payment of the tota l criminal monetary penalties is due as fo llows:

 A     X      Lump sum payment of $             1,987 .00           due immediately, balance due

             D      not later than                                      , or
             X      in accordance            D C,       D D,       D     E, or      X F below; or

 B     D Payment to begin immediately (may be combined with                      oc,          D D, or      D F below); or
 C     D     Payment in equal                           (e.g.. weekly. monthly. quarterly) installments of $                              over a period of
                              (e.g., months or years), to commence                        (e.g .. 30 or 60 days) after the date of this judgment; or

D      D     Payment in equal                           (e.g .. weekly. monthly . quarterly) installments of $                           over a period of
                              (e.g., months or years), to conunence                         (e.g., 30 or 60 days) after release fro m impri sonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release will conunence within                 (e.g.. 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     X     Special instructions regarding the payment of criminal monetary penalties:
             If not paid immediately, any unpaid financial penalty shall be paid by the defendant during his term of imprisonment at a rate of up
             to 50% of the defendant's ava ilable funds, in accordance with the Inmate Financial Responsibility Program. During residential reentry
             placement, f ayments will be I 0% of the defendant 's gross monthly income. The p ayment of any rema inin~ balance shall become a
             condition o supervised release and shall be paid in monthly installments of $50.00 or 15% of the defendant s net monthly household
             income, whichever is greater, with the entire balance to be paid in full no later than one month prior to the end of the period of
             supervised release.

 Unless the court has expressly ordered otherwise, if this j udgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. Al l criminal monetary penalties, excep t those payments made through the Federa l Bureau of Prisons' Inmate
 Financial Responsibility Progran1, are made to the clerk of the court.

 The defendant shall rece ive credit fo r all payments previously made toward any criminal monetary penalties imposed.




 X     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defe ndant numbe1) , Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
       Amber Nico le Evans, Docket No.: 5: I 6CR50015-00 1; Michae l McE lroy, Docket No. : 5: I 6CR500 15-002; Adam O'Mara, Docket No.:
       5: I 6CR500 15-003 ; Rachel Sharum, Docket No.: 5: l 6C R500 15-004; Sununer Thompson, Docket No. : 5: 16CR50015-005 ; Van Doren
       Weaver III, Docket No .: 5: l 6CR500 16-006 ; Candace Nicole Watkins, Docket No.: 5: l 5C R50088-00 l, James Walker, Docket No.:
       5: l 6CR50020-00 I; and any future defendants.

 0     The defendant sh.all pay the cost of prosecution.

 D     T he defendant shall pay the fo ll owing court cost(s):

 D     The defendant shall fo rfe it the defendant's interest in the fo llowing property to the United States:


 Payments shall be applied in the fo llowing order: ( I) assessment, (2) restitution principal, (3) restitution interest, (4) fi ne principal,
 (5) fine interest, (6) community restituti on, (7) penalti es, and (8) costs, including cost of prosecution and court costs.
